         Case 4:12-cr-00273-BSM Document 202 Filed 09/18/20 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF ARKANSAS
                         CENTRAL DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                         CASE NO. 4:12-CR-00273-BSM-4

GREGORY GREENE                                                                   DEFENDANT

                                            ORDER

       Gregory Greene’s motion for compassionate release [Doc. No. 200] is denied because his

health concerns do not warrant release and because he is a danger to society.

       Greene was sentenced to 120 months imprisonment for aiding and abetting the possession

with intent to distribute methamphetamine. Doc. No. 179. He moves for compassionate early

release, pursuant to 18 U.S.C. section 3582(c)(1)(A), which requires consideration of 18 U.S.C.A.

section 3553 sentencing factors. Greene argues that his age and COPD diagnosis warrant early

release and that he did not receive medical treatment following his positive COVID-19 test in May,

2020. Mot. Release at 15, Doc. No. 200.

       The government argues that Greene’s medical records from 2019 and 2020 show no

diagnosis for COPD. Resp. Mot. Release at 4, Doc. No. 201. The government also points out that

Greene did not report any symptoms when he was screened daily following his positive COVID-19

test and that nothing in Greene’s recent medical records suggests he requires medical treatment. Id.

Finally, the government notes that Green is a danger to the community as shown by his domestic

battery conviction and his numerous drug-related convictions. Id. at 7.

       IT IS SO ORDERED this 18th day of September, 2020.
Case 4:12-cr-00273-BSM Document 202 Filed 09/18/20 Page 2 of 2




                                   UNITED STATES DISTRICT JUDGE
